                         Case 5:12-cr-00359-OLG Document 596 Filed 04/09/14 Page 1 of 12
                               MOTtON UNDER 26 U.S.C. 2255TO VACATE, SET A849E, OR CORRtCT
                                               SENTENCE BY A PERSON IN FEDERAL CUSTODY                                                       1/
                                                                                                                                    A   ,.




     UNITED STATES DISTRICT COURT
                                                                               District
                                                                                          Wctrn cf                                           '' 0 9   2014
                                                                                                                  I   Case
     Name (under which convicted)
      Jimmy Torres                                                                                                        5:1
     Place of Confinement:
                                                                                               I   Prisoner No:
                                                                                                                                                      C
      FCI Pollock, Louisiana                                                                   I      9181-280
     UNITEDSTATEOFAMERICA                                 V.                  Jimmy Torres
                                                                              Movant    (inctude name under which convicted)




                                                                                          S Al 4 CÁO                                32G
1.           (a) Name and location      of court which entered the judgment of conviction you are challenging:
              United Statc.c District- Cnnrt,                          Wcfrn District of                                  Texas



             (b) Criminal docket or case number (if you know):       5: 12- Cr- 00359-              QLG
2.           (a) Date of the judgmentof conviction (if you know):      April       4th,        71)13

             (b) Date of sentencing:        April 4th,
                                                   2013
3.           Lengthofsentence:      _180 months imprisonment, 3-years Supervised Release

                                              18   U.S.C.       §   922(g)(6); 18 U.S.C.                              §    924(c.)(1)
4.           Natureofcme(alIcounts):




5.           (a) What was your plea? (Check one)

                  (1) Not guilty    0                                 (2) Guilty    L                         (3) Nob Contendere (no contest)                0

             (b) If you entered a guilty plea to one count or indictment, and a not guilt plea to another count or

             What did you plead guilty to and what did you plead not guilty to?           /A




6.           If you went to trial, what kind of trial did you have? (Check one)                                       Jury      0             Judge only     E
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                                                                                                                     Page3


7.    Did you testify at a pretrial hearing, trial, or post-trial hearing?   Yes   0                     No    tIJ


8.    Did you appeal form the judgment of conviction?                        Yes   0                     No    L



9.    Ifyou did appeal,     ansr/e following:
      (a) Name of court:


      (b) Docket or case number          (if   you know):

      (c) Result:                N/A

      (d) Date of result (if you know):                    N/A

      (e)   Citationtothecase(ifyouknow):                          N/A

      (f) Grounds raised:
                                               N/A




      (g) Did you file a petition for certiorari in the United States Supreme Court?            Yes     0                    No x

      0
                   "Yes," answer the following:
              If
                                                                    N/A
                     DoeIease-numbeF-(1f-you-know):
              (2) Result:          N/A


              (3) Date of result   (if   you know):               N/A

              (4) Citation to the case         (if   you know):
                                                                  N/A
                                                     N/A
              (5) Grounds raised:




10.   Other than the direct appeals listed above, have you previously filed any other motions, petitions, or applications,
      concerning this judgment of conviction in any court?
         YesO           No E

11.   If your answer to Question 10 was "Yes," give the following information:
      (a) (1) Name of court:_____________________________________________________________________
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                                                                                                                         Page4
        (2) Docket or case number (if you know)
                                                         N/A

        (3) Date of filing (if you know):          N/A
                                             N/A
        (4) Nature of the proceeding:

        (5) Grounds raised: _N/A




        (6) Did you receive a hearing where evidence was given oriyour motion, petition, or application?

                 YesD                       No

        (7) Result:         N/A
        (8) Date of result (if you know):          N/A
 (b)    If you filed any second motion, petition, or application. Give the same information:

        (1) Name of court:         N/A
       (2) Docket of case number (if you know):                     N/A
        3)DateoLfihing(iLyouknow)
                                                 N/A
       (4) Nature of the proceeding:              N/A
       (5) Grounds raised:        N/A




       (6) Did you receive a hearing where evidence was given on your motion, petition, or application?

               YesD                         No

       (7) Result:     N/A
       (8) Date of result (if you know):          N/A
(c)    Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion, petition, or

application?

       (1) First petition                   Yes   0            No    0
       (2) Secondpetition                   Yes   0            No    0    **This is the First                   §   2255**
(d)    If you did not appeal from the action on any motion, petition. or application. Explain briefly why you did not:
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                                                                                                                      Page5


12.    For this motion, state every ground on which you claim that you are being held in violation of the Constitution, laws,
       or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
       supporting each ground.

GROUND ONE:          INEFFECTIVE ASSISTANCE OF COUNSEL BOTH PRE TRIAL, PLEA, AND
         SFNTENCTN(          -



       (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

                   PT.EASF SEE FORTHCOMING MF.MORANDIIM OF POINTS AND AuTHORITIES




::::_i(b)
            (1) If you appealed from the judgment of conviction, did you raise this issue?

                          YesD                         No
                                                                                      CONSTITUTIONALLYI
            (2) If you did not raise this issue in your direct appeal, explain why:
              TNFFFFf.TTVF ASSISTANCE OF                         0UNSEL

       (c) Post-Conviction Proceedings:

            (1) Did you raise this issue in any post-conviction motion, petition, or application?

                       Yes       0                     NoLX
            (2) If you answer to Question (c)(1) is "Yes," state:
                                              N/A
            Type of motion or petition:

            Name and location of the court where the motion or petition was filed:
                                                                                            /A

            Docket or case number (if you know):
                                                        N/A
            Date of the court's decision:        N/A
            Result (attach a copy of the court's opinion or order, if available):     N/A




            (3) Did you receive a hearing on your motion, petition, or application?

                       Yes       0                     No
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                                                                                                                       Page 6
           (4) Did you appeal from the denial of your motion, petition, or application?

                         YesD                         No     L




           (5) If your answer to Question (c)(4) is 'Yes," state:

                         Yes       0                  No

           (6) If your answer to Question (c)(4) is "Yes," state:
                                                                          N/A
           Name and location of the court where the appeal was filed:



           Docket or case number (if you know):              N/A
           Date of the court's decision:      N/A
           Result (attach a copy of he court's opinion or order, if available);   N/ A



          (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise issue:
                 Ineffective Assistance of Counsel




GROUND TWO:             INEFFECTIVE ASSISTANCE OF COHNSEI. ROTH PRF. ThTAT.) PLRA, AND
           SENTENCING          -


      (a) Supporting facts (Do not argue or cite law. Just state thespecific facts that

              PLEASE SEE FORTHCOMIUNGCMF.MORANnIIM (IF POINTS AND AUTHIORITIES




     (b) Direct Appeal of Ground Two:

          (1) If you appealed from the judgment of conviction, did you raise this issue?

                 YesO                      No
         Case 5:12-cr-00359-OLG Document 596 Filed 04/09/14 Page 6 of 12

                                                                                                                Page 7
                                                                                In e f fec t lye
   (2)   If you did not raise this issue in your direct appeal, exp'ain why:
    Assisistance of Counsel

(c) Post-Conviction Proceedings:

   (1) Did you raise this issue in any post-conviction motion, petition, or application?

         YesD                        No

   (2) If you answer to Question (c)(1) is "Yes," state:

   Type of motion or petition:     N/A
   Name and location of the court where the motion or petition was filed:      N/A

   Docket orcase number (if you know):            N/A
   Date of the court's decision:     N/A
   Result (attach a copy of the court's opinion or order, if available):   N/A



   (3) Did you receive a hearing on your motion, petition. or application?

           YesD                      NoLi

           YesD                      NoE'
   (5) If you answer to Question (c)(4) is 'Yes," did you raise the issue in the appeal?

            YesD                    No    £3

                          ________                              N/ A
                                                                               N/A
   Name and location of the court where the appeal was filed:


   Docket or case number (if you know):           N/A
   Date of the court's decision:   N/A
   Result (attach a copy of the court's opinion or order, if available):        N/A




   (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise issue:
         Constitulonally Ineffective Assistance of Counsel
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                                                                                                                       Page 8

GROUND THREE:       TNF.FFECTIVE ASSISTANCE OF COUNSEL,                              BOTH PRE TRIAL, PLEA AND
       SENTENCING          -



      (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
         PLEASE SEE FORTHCOMING MEMORANDUM OF POINTS AND AUTHORITIES




      (b) Direct Appeal    of Ground Three:
          (1) If you appealed from the judgment of conviction, did you raise this issue?

                        YesO                         No

          (2)lfidnotiaiseihis1ssuelnyourdirectappeaIexplainwhy:                          IneffectiVe             Assistance



     (c) Post-Conviction Proceedings:

          (-1-)Did-you-raise-this-issue-in-any-post-eonvic-tion-motion,-petitionTorappIication?                                 --
                     Yes       0                     NoL
          (2) If you answer to Question (c)(1) is Yes," state:

          Type of motion or petition:                                      N/A
          Name and location of the court where the motion or petition was flied:
                                                                                           N/A


          Docket or case number (if you know):         N/A
          Date of the court's decision:          N/A
          Result (attach a copy of the court's opinion or order, if available):




          (3) Did you receive a hearing on your motion, petition, or application?

                        Yes        0                 No    L


          (4) Did you appeal from the denial of your motion, petition, or application?

                        Yes        0                 No     E


          (5) If your answer to Question (c)(4) is "Yes," did you raise the issue in the appeal?

                        Yes        0                 No     L
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                                                                                                                        Page 9

      (6) If your answer to   Queson (c)(4) is 'Yes," state:
            Name and location of the court where the appeal was filed              N/A


            Docket or case number (if you know):            N/A
            Date of the court's decision:       N/A
            Result (attach a copy of he court's opinion or order, if available):         N/A



           (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise issue:
                      Ineffective           Assist       ance of Counsel




GROUND FOUR:        >>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>

      (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




     (b) Direct Appeal     of Ground Four:
           (1) If you appealed from the judgment of conviction, did you raise this issue?

                         YesO                          NoD
           (2) If you did not raise this issue in your direct appeal, explain why:




     (c)   Post-Conviction Proceedings:
           (1) Did you raise this issue in any post-conviction motion, petition, or application?
                           Yes    D                   NoD
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                                                                                                                          Page 10
           (2) If you answer to Question (c)(1) is "Yes," state:

           Type of motion or petition:        N/A
           Name and location of the court where the motion or petition was filed:
                                                                                             N/A


           Docket or case number (if you know):              N/A
           Date of the court's decision:            N/A
           Result (attach a copy of the courts opinion or order, if available):        N/A



           (3) Did you receive a hearing on your motion, petition, or application?

                          Yes    0                      No    L

           (4) Did you appeal from the denial of your motion, petition, or application?

                           YesO                         No

           (5) If your answer to Question (c)(4) is 'Yes," state:

                          YesO                          No    I



      (6) If your answer to Question (c)(4) is "Yes," state:

          Name and location of the court where the appeal was filed:



          Docket or case number (if you know):          N/A
                                                      N/A
          Date of the courts decision:

          Result (attach a copy of he court's opinion or order,     if   available):




          (7)   If   your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise issue:
                       N/A




13.   Is there any ground in this motion that you have not previously presented in some federal court? If so, which ground
      or grounds have not been presented, and state your reasons for not presenting them:
      None of the grounds presented here have previously been presented to
      any other court because of ineffective assistance of counsel.
IT
                           Case 5:12-cr-00359-OLG Document 596 Filed 04/09/14 Page 10 of 12
     -                                                                                                                           Pagell
         14.    Do you have any motion, petition, or appeaF now pending (filed and not decided yet) in any court for the
                conviction you are challenging?           Yes D             No f


                If Yes," state the name and location of the court, the docket or case number, the type of proceeding, and the issues

                raised.             N/A




I        15    Give the name and address, if known, of each attorneywho represented you in the following stages of the process
               you are challenging:
               (a) Atthepreliminaryhearing:        R.   Clark Adams, FPD 727                   E.    Cesar      E.   Chavez Blvd.
                     San Antonio, TX 78205
               (b) At the arraignment and plea:         Same


               (c) At the trial:



               (d) At sentencing:
                                         Same

               (e) On appeal:             N/A


               (f) In any post-conviction proceeding:         "Pro Se"


               (g) On appeal from any ruling against you in a post-conviction proceeding:        N/A




         16.   Were you sentenced on more than one count of an indictment, or on more than one indictment, in the same court
               and at the same time?          Yes 0             No l


         17.   Do you have any future sentence to serve after you complete the sentence for the judgment that you are
               challenging?                  Yes            0 No l
               (a)        If so, give name and location of court that imposed the other sentence you will serve in the future:
                                   N/A


               (b) Give the date the other sentence was imposed:               N/A

               (c) Give the length of the other sentence:
                                                                    N/A

               (d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the judgment or

                     sentence to be served in the future?              Yes    0                     No   L3J
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                                                                                                                                                      Page 12
18.    TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you must explain
       why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not bar your motion.1


      Th15 2R 1LS.C.                      §   77S         Mction          ws pl'd                   in     t1i       hrids        of prison
      authorities cm April                             4,     7014,           nd               iic}i      it     i    deemed timely filed




      'The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA")    as contained in 28 U.S.C.    2255, paragraph 6 provides in part that:

                 A one-year period of limitation shall apply to a motion under this section. The limitation period shall run from the latest   of
                    (1)   the date on which the judgment of conviction became final;
                    (2)    the date on which the impediment to making a motion created by government action in violation of the Constitution or laws of the
                             United
                           States is removed, if the Movant was prevented from making such a motion by such government action;
                   (3)      the date on which the right asserted was initially recognized by the Supreme Court, if that right has been newly recognized by the
                             Supreme Court and made retroactively applicable to cases on collateral review; or
                   (4)      the date on which the facts supporting the claim or claims presentence could have been discovered through the exercised of due
                            diligence.
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                                                                                                                                      Page   13



                                                              CONCLUSION

                                                                                  Vacate,        Se t       As ide,        or Correct
       Therefore Movant asks that the Court grant the following relief:
         Sentence. Any and all other relief to which                                                 I-hp       Court-     dms just

       or any other relief to which Movant may be entitled.




                                                                                                            x
                                                                                                                Signature of Attorney (If any)



                                      CERTIFICATE OF SERVICE/DECLARATION


         I   declare (or certify, verify, or state) under penalty of perjury pursuant to 28 U.S.C. § 1746, that the foregoing is

::Ii:true:and: correct:and      thatthis:Motion under:28          U.S. C; § 2255 was placed in the prison mailing system on


       Apr i 1 4,        2014            ,   2013, with correct United States Postage, pre-paid and affixed thereto, pursuant to

      the mailbox rule announced in Houston          v.   Lack,   108 S.   Ct.   2379, 2385, 101     L.   Ed.   2d 245 (1988). The rule is

      preuuiised on the pro se prisoners mailing of legal documents              through-the-eonduioPpi'ison-authoiities-whent-he

      cannot control and whose interests might be adverse to him." Id.               Petitioner also respectfully requests that this

      Honorable Court liberally construe his pleadings under the standard governing pro so submissions

      announced in the Supreme Court's landmark decision Haines                       v.   Kerner,   404 U.S. 519, 520, per          curiam,



      (1972)(Complaints filed by pro so litigants are to be construed liberally and are not to be held to the same

      stringent standard as formal pleadings drafted by licensed attorneys.).


      Executed (signed) on     X     4/4/20 14
                                                    (date)
                                                                                                                     y      toriLS
                                                                                                            Signature of Movant

      If the person signing is not Movant, state relationship to Movant and explain why Movant is not signing this motion.
